   PROB 12B
   (7/93)

                                        United States District Court

                                                           for the

                                           Western District of Virginia

                       Request for Modifying the Conditions or Term of Supervision
                                      with Consent of the Offender
                                        (Probation Form 49 Waiver of Hearing is Attached)



Name of Offender: Frank Wesley Wade                                                         Case Number: 5:13CR000016-001
Name of Sentencing Judicial Officer: The Honorable Michael F. Urbanski
Date of Original Sentence: August 26, 2014; Revocation: June 11, 2020
Original Offense: Conspiracy to Possess with Intent to Distribute 50 Grams or More of
Methamphetamine
Original Sentence: 68 months followed by 5 years supervised release; Revocation: 8 months followed
by 2 years supervised release.
Type of Supervision: Supervised Release                     Date Supervision Commenced: November 9, 2020



                                           PETITIONING THE COURT

    [X]       To modify the conditions of supervision as follows:

   “The defendant has agreed to extend his period of supervised release to total 6 months. His expiration
   date would reflect May 8, 2023.

   The defendant shall enter into the Drug Treatment Court Program and shall comply with all the
   program rules and requirements, if accepted into the program. The defendant is aware that the Drug
   Treatment Court Program is a voluntary and the defendant may remove himself at any time. However,
   if the defendant fails to comply with said program or removes himself, revocation proceedings may be
   initiated.”

                                                           CAUSE

   On Sunday, June 27, 2021, the defendant’s family contacted this officer and advised of a relapse. The
   undersigned contacted the defendant who admitted to the same. The officer has spoken with the defendant
   at length and Wade has a strong desire to participate in Drug Treatment. Additionally, this officer has
   consulted with the defendant’s retained counsel, Gene Hart, who concurs with this recommendation. The
   defendant has agreed to extend his supervision for a period of six months to adequately participate in Drug
   Treatment Court.
Name of Offender: Frank Wesley Wade                          Case Number: 5:13CR000016-001




                                                      Respectfully submitted,




                                                      by
                                                      Angela D. George
                                                      Senior U.S. Probation Officer
                                                      Date: August 11, 2021




THE COURT ORDERS:
[ ] No Action
[ ] The Extension of Supervision as Noted Above
[ X] The Modifications of Conditions as Noted Above
[ ] Other
                                                                    Michael F. Urbanski
                                                                    Chief U.S. District Judge
                                                                    2021.08.17 14:54:36 -04'00'
                                              ________________________________
                                                    Signature of Judicial Officer
                                                  August 17, 2021
                                              ________________________________
                                                          Date
